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                EXHIBIT A
                 Complaint




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                                                                                                                          View Cart   Login

                Bucks County Web Viewer and E-Filing

       Case #2022-01888
               Case Number        2022-01888
                Matter Code
       Commencement Date          4/25/2022 11:28:38 AM
                  Case Type       COMPLAINT
                PFA Number
             Caption Plaintiff    BIDDLE, JENNIFER
          Caption Defendant       REC BOAT HOLDINGS D/B/A
       Lis Pendens Indicator      No
                      Status      1
                      Judge       JEFFREY G. TRAUGER
              Parcel Number
                    Remarks       COMPLAINT CONTRACT OTHER LEMON LAW with NOTICE TO DEFEND
                      Sealed      No
               Consolidated       No

        Plaintiffs
                    Name                 Address                                    Counsel           Notify   Sequence        ProSe
    Select         BIDDLE,              17 GRANITE ROAD                             Power, Michael    Yes      1
                   JENNIFER             LEVITTOWN, PA 19057 UNITED                  Douglas
                                        STATES
    Select         FRENIER, PAUL        17 GRANITE ROAD                             Power, Michael    Yes      2
                                        LEVITTOWN, PA 19057 UNITED                  Douglas
                                        STATES


        Defendants
                    Name                                 Address                            Counsel   Notify   Sequence        ProSe
    Select         REC BOAT HOLDINGS D/B/A              925 FRISBIE STREET                            Yes      1
                   (FOUR WINNS)                         CADILLAC, MI 49601 UNITED
                                                        STATES
    Select         ANCHOR BOATS                         448 N MAULDIN ST.                             Yes      2
                                                        NORTH EAST, MD 21901
                                                        UNITED STATES


        Docket Entries
                                                                                                                                 Filing
                    Seq.       Filing Date                Docket Text                                              Sealed        ID
    Select         0          4/25/2022 11:28:38 E        COMPLAINT CONTRACT OTHER LEMON LAW with NOTICE           No           13092519
                              AM                          TO DEFEND




                                                                         Exhibit A
https://propublic.buckscountyonline.org/PSI/v/detail/Case/6228653[5/26/2022 3:28:41 PM]
